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 7

 8                               UNITED STATES DISTRICT COURT
 9                 EASTERN DISTRICT OF CALIFORNIA – FRESNO DIVISION
10   STELLA KAMALU,                                 )   Case No.: CV 13-00627-LJO-SAB
                                                    )
11                  Plaintiff,                      )   NOTICE OF MOTION AND MOTION TO
                                                    )   QUASH SUBPOENA FOR MOBILE
12          vs.                                     )   TELEPHONE RECORDS.
                                                    )
13   WAL-MART STORES, INC.,                         )   Date: August 14, 2013
                                                    )   Time: 9:30 a.m.
14                  Defendant                       )   Courtroom: 9
                                                    )
15                                                  )
                                                    )
16                                                  )
                                                    )
17

18   TO THE HONORABLE COURT AND ALL PARTIES:
19          PLEASE TAKE NOTICE that on August 14, 2013 at 9:30 a.m., or as soon thereafter as
20   counsel may be heard in Courtroom 9 of the above entitled court located at 2500 Tulare Street,
21   Fresno, CA 93721, Plaintiff Stella Kamalu will move the Court for an order quashing subpoena
22   for mobile telephone records served on AT&T Mobility, LLC.
23          PURSUANT to Local Rule 251, the Joint Statement of the Parties re: Discovery Dispute
24   is filed concurrently with the motion.
25   Dated: July 22, 2013                                Law Offices of Akudinobi & Ikonte
26

27
                                                         By:_/s/ Chijioke Ikonte______
                                                                Chijioke Ikonte
28                                                              Attorney for Plaintiffs
                                                                Stella Kamalu



                                      Motion to Quash Subpoena - 1
